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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 SAN ANTONIO DIVISION
LA UNIÓN DEL PUEBLO ENTERO et al.

vs.                                                 Case No.: 5: 21-cv-844-FB
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.

                       MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Christopher H. Bell                                      , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Plaintiffs LA UNIÓN DEL PUEBLO ENTERO, SOUTHWEST

VOTER REGISTRATION EDUCATION PROJECT, MEXICAN AMERICAN BAR

ASSOCIATION OF TEXAS, TEXAS HISPANICS ORGANIZED FOR POLITICAL

EDUCATION, JOLT ACTION, WILLIAM C. VELASQUEZ INSTITUTE, and FIEL

 HOUSTON INC.
in this case, and would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)

               Fried, Frank, Harris, Shriver & Jacobson LLP              with offices at:

               Mailing address: 801 17th Street, NW

               City, State, Zip Code: Washington, DC 20006

               Telephone: (202) 639-7000                    Facsimile: (202) 639-7003

               Email: christopher.bell@friedfrank.com

       2.      Since   November 23, 2020                      , Applicant has been and presently is a

               member of and in good standing with the Bar of the           District of Columbia.

               Applicant's bar license number is 1643526                                                .
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3.   Applicant has been admitted to practice before the following courts:

     Court:                                          Admission date:

      Commonwealth of Pennsylvania*                  November 19, 2014

      District of Columbia                           November 23, 2020


     * Inactive status
4.   Applicant is presently a member in good standing of the bars of the courts listed above,

     except as provided below (list any court named in the preceding paragraph before which

     Applicant is no longer admitted to practice):
     Applicant remains a member of the Pennsylvania bar but elected to transfer his
     Pennsylvania bar membership to inactive status as Applicant is not engaged in the
     practice of law in Pennsylvania.


5.   I        have       have not previously applied to Appear Pro Hac Vice in this district

     court in Case[s]:

     Number:                              on the         day of                       ,         .

     Number:                              on the         day of                       ,         .

     Number:                              on the         day of                       ,         .

6.   Applicant has never been subject to grievance proceedings or involuntary removal

     proceedings while a member of the bar of any state or federal court, except as

     provided:
     N/A




7.   Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

     except as provided below (omit minor traffic offenses):
     N/A
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          8.     Applicant has read and is familiar with the Local Rules of the Western District of Texas

                 and will comply with the standards of practice set out therein.



          9.     Applicant will file an Application for Admission to Practice before the United States

                 District Court for the Western District of Texas, if so requested; or Applicant has co-

                 counsel in this case who is admitted to practice before the United States District Court

                 for the Western District of Texas.

                 Co-counsel: Nina Perales, Mexican American Legal Defense and Educational Fund

                 Mailing address: 110 Broadway, Suite 300

                 City, State, Zip Code: San Antonio, TX 78201

                 Telephone: (210) 845-5147


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].
                                   /s/ Christopher H. Bell
          Wherefore, Applicant prays that this Court enter an order permitting the admission of

Christopher H. Bell                        to the Western District of Texas pro hac vice for this case only.


                                                             Respectfully submitted,

                                                              Christopher H. Bell
                                                             [printed name of Applicant]
                                                              /s/ Christopher H. Bell

                                                             [signature of Applicant]
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                                   CERTIFICATE OF SERVICE

       I hereby certify that I have caused to be served a true and correct copy of this motion upon

each attorney of record and the original upon the Clerk of Court on this the 3rd day

of September            , 2021 .
                                                     Christopher H. Bell
                                                    [printed name of Applicant]
                                                     /s/ Christopher H. Bell

                                                    [signature of Applicant]
